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 6                        IN THE UNITED STATES DISTRICT COURT
 7                            FOR THE DISTRICT OF ARIZONA
                                    TUCSON DIVISION
 8
       Center for Biological Diversity,
 9                                                        CV-17-00475-TUC-JAS (Lead)
                  Plaintiff,                              CV-17-00576-TUC-JAS
10                                                        CV-18-00189-TUC-JAS
       v.                                                 CONSOLIDATED
11
       United States Fish and Wildlife Service, et al.,
12                                                        [Proposed] ORDER
                   Defendants,
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14
            This Court having considered Plaintiffs Save the Scenic Santa Ritas’ (SSSR)
15
16   and Federal Defendants’ Status Report and Joint Motion to Extend Stay for
17   Consideration of SSSR Plaintiffs’ Motion for Attorneys’ Fees (Doc. XX) GRANTS
18
     the Joint Motion.
19
20          Accordingly, it is ORDERED as followed:
21
     1.     Briefing on SSSR’s Petition/Motion continues to be stayed;
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23   2.     SSSR and Federal Defendants will submit a status report on potential
24   settlement of SSSR’s Motion on or before July 18, 2023, as well as request an
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     additional extension of time if settlement discussions are still ongoing; and
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 1   3.    If settlement cannot be reached, SSSR and Federal Defendants will file a joint
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     schedule for SSSR to amend its Motion, with additional declarations and materials
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     in support, as well as for Federal Defendants’ response, and SSSR’s reply.

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